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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 18-CR-20685-WILLIAMS/TORRES

  UNITED STATES OF AMERICA

  v.

  ABRAHAM EDGARDO ORTEGA,

                          Defendant.
                                                  /

  IN RE:

  LAND TRUST TH 041117,

                  Third-Party Petitioner.
                                                  /

   UNITED STATES’ UNOPPOSED MOTION TO AMEND PRELIMINARY ORDER OF
    FORFEITURE [ECF NO. 124] TO RELEASE CERTAIN REAL PROPERTY FROM
             CRIMINAL FORFEITURE ANCILLARY PROCEEDINGS

          The United States of America, through its undersigned counsel, (the “United States”)

  hereby files this unopposed motion to amend the Preliminary Order of Forfeiture [ECF No. 124]

  to release real property located at 2101 South Surf Road, Unit 2E, Hollywood, Florida (“Subject

  Property”) from further criminal forfeiture proceedings in the above-referenced matter in favor of

  proceeding with litigation in the recently filed parallel civil forfeiture action. In support, the United

  States submits the following:

               RELEVANT FACTUAL AND PROCEDURAL HISTORY

          1.      On June 24, 2019, the Court entered a Preliminary Order of Forfeiture, ordering,

  subject to third-party claims, the forfeiture of the Subject Property. See Preliminary Order of

  Forfeiture, ECF No. 124.

          2.      On August 21, 2019, Petitioner Land Trust TH 041117 (“Petitioner”) filed a Third-
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  Party Petition for Hearing to Adjudicate Validity of Interest in Real Property Subject to Forfeiture

  (the “Petition”) for the Subject Property, claiming to have a superior interest to the Subject

  Property and, in the alternative, to be a bona fide purchaser for value under. See Petition, ECF No.

  131.

         3.      On September 5, 2019, the United States filed the United States’ Response to

  Verified Petition of Land Trust TH 041117 (“Response”), indicating that the United States

  intended to seek discovery “to resolve factual issues, namely to determine whether or not Petitioner

  has standing and/or a valid interest in the Subject Property under 21 U.S.C. § 853(n)(6).” See

  Response 4, ECF No. 134.

         4.      On September 11, 2019, Petitioner filed Land Trust TH 041117’s Verified Reply

  to the United States’ Response to Verified Petition for Hearing To Adjudicate Validity of Interest

  in Real Property Subject to Forfeiture (“Reply”). See Reply, ECF No. 140.

         5.      On September 12, 2019, the District Court referred to U.S. Magistrate Judge Torres

  the determination of whether the Government’s requested discovery was appropriate. See Order,

  ECF No. 141.

         6.      On October 2, 2019, a hearing on the Government’s request for discovery was held

  before Magistrate Judge Torres. See Minute Entry, ECF No. 154. On October 3, 2019, the Court

  issued a paperless order granting the Government’s request and requiring the Government to serve

  all discovery within 30 days from the date of the hearing and complete discovery within 45 days.

  Paperless Order, ECF No. 155.

         7.       On October 11, 2019, the United States served Petitioner with requests for




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  production, two notices of deposition for November 14, 2019, 1 and a subpoena for Cesar

  Hernandez’s testimony. 2

          8.      At the hearing before Judge Torres on October 2, 2019, as well as beforehand in its

  Response, the United States represented that it was contemplating filing a civil forfeiture action

  because several assets restrained in the criminal case belonged to fugitive defendants. See Minute

  Entry, ECF No. 154; see also Response 4. The United States further informed the Court that if it

  did file a civil forfeiture complaint, it would seek to stay the instant criminal forfeiture ancillary

  proceeding so that all of the outstanding forfeiture in this case, including that of the Subject

  Property, could be litigated in the same action.

          9.      On October 15, 2019, the United States filed a Verified Complaint for Forfeiture In

  Rem (“Civil Forfeiture Complaint”), initiating the related civil forfeiture action. See Case No.

  1:19-cv-24249-WILLIAMS (S.D. Fla.), ECF No. 1. The Subject Property is one of the defendants

  in rem in the related civil forfeiture action. See id.

          10.     On October 21, 2019, counsel for the United States, sent via e-mail, a copy of the

  Civil Forfeiture Complaint to counsel for Petitioner. See 10/21/2019 e-mail correspondence (on

  file with undersigned counsel).

          11.     On October 23, 2019, counsel for the United States requested Petitioner’s position

  on a proposed motion to stay criminal forfeiture ancillary proceeding in favor of proceeding in

  related civil forfeiture action.

          12.     After a telephone discussion on October 29, 2019, the parties agreed that in an effort



  1
    One notice of deposition was for the Petitioner, and the other was for Cesar Hernandez, the
  grantor of the Land Trust.
  2
   Since Cesar Hernandez is not a trustee of the Land Trust, the United States served his counsel
  with a subpoena out of an abundance of caution.


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  to streamline litigation over the Subject Property, the United States would seek to amend the

  Preliminary Order of Forfeiture to release the Subject Property from further litigation, eliminating

  Petitioner’s obligation to proceed with the depositions and other discovery obligations in the

  above-captioned matter. Petitioner also agreed to dismiss its Petition in this matter.

              MEMORANDUM OF LAW

          The United States respectfully requests that the Court amend the Preliminary Order of

  Forfeiture to release the Subject Property from further criminal forfeiture proceedings because a

  dispositive ruling in the criminal case will not resolve the civil forfeiture action against the Subject

  Property as Petitioner faces a different burden in the civil forfeiture case than in the instant criminal

  forfeiture case.

              A. Petitioner’s Burden in Civil and Criminal Forfeiture

          In both criminal and civil forfeiture, the United States bears the initial burden of proving

  the nexus between the property subject to forfeiture and the criminal activity. See 18 U.S.C. §

  983(c)(1) (“In a suit or action brought under any civil forfeiture statute for the civil forfeiture of

  any property- the burden of proof is on the Government to establish by a preponderance of the

  evidence, that the property is subject to forfeiture”); Fed. R. Crim. P. 32.2(a)(1)(A) (“…If the

  government seeks forfeiture of specific property, the court must determine whether the government

  has established the requisite nexus between the property and the offense.”); United States v. Dicter,

  198 F.3d 1284, 1289 (11th Cir. 1999) (holding that because criminal forfeiture is a part of

  sentencing, the preponderance of the evidence standard applies).

          Once the Government has established the forfeitability of the property, the burden shifts to

  the petitioner, or claimant, to prove its superior interest in the property in both criminal and civil

  forfeiture cases. See 18 U.S.C. § 983(d) (“…The claimant shall have the burden of proving that




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  the claimant is an innocent owner by a preponderance of the evidence”); 21 U.S.C. § 853(n)(6)

  (stating that the petitioner must establish “by a preponderance of the evidence” that it has a superior

  interest in property subject to forfeiture).

          However, a claimant’s burden of proof differs in a civil forfeiture proceeding from in a

  criminal forfeiture ancillary proceeding. In a civil forfeiture proceeding, a claimant must prove it

  is an “innocent owner” pursuant to 18 U.S.C. § 983(d)(1) even if the claimant had title to property

  at the time of the alleged criminal acts. In a civil forfeiture action, an “innocent owner” is defined

  as:

          (2)(A) With respect to a property interest in existence at the time the illegal
                 conduct giving rise to forfeiture took place, the term “innocent owner”
                 means an owner who—

                 i.   did not know of the conduct giving rise to forfeiture; or

                ii.   upon learning of the conduct giving rise to the forfeiture, did all that
                      reasonably could be expected under the circumstances to terminate
                      such use of the property…
          (3)(A) With respect to a property interest acquired after the conduct giving rise to
                 the forfeiture has taken place, the term “innocent owner” means
                 a person who, at the time that person acquired the interest in the property—
                 i.       was a bona fide purchaser or seller for value (including a purchaser or seller
                          of goods or services for value); and

                ii.       did not know and was reasonably without cause to believe that the property
                          was subject to forfeiture.
  18 U.S.C. § 983(d)(2), (3) (bold emphasis added).

          In contrast, in the criminal forfeiture context, the petitioner is not required to demonstrate

  innocence if alleging a superior interest in forfeited property:

          (A)      the petitioner has a legal right, title, or interest in the property, and
                   such right, title, or interest renders the order of forfeiture invalid in
                   whole or in part because the right, title, or interest was vested in the
                   petitioner rather than the defendant or was superior to any right, title,




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                    or interest of the defendant at the time of the commission of the acts
                    which gave rise to the forfeiture of the property under this section; or

           (B)      the petitioner is a bona fide purchaser for value of the right, title, or interest
                    in the property and was at the time of purchase reasonably without cause to
                    believe that the property was subject to forfeiture under this section

   21 U.S.C. § 853(n)(6)(A), (B) (bold emphasis added).

           As a result, even if Petitioner were able to prove its superior interest in the Subject Property

   in the criminal forfeiture proceeding, the United States could still forfeit the Subject Property in a

   civil forfeiture proceeding.

                 B. Litigation of the Civil Forfeiture Is the Most Efficient Means of Resolving the
                    Forfeiture in this Case

           The United States submits that litigation of the civil forfeiture proceeding is the most

  efficient means of resolving this forfeiture for two reasons. First, parallel litigation would require

  both Petitioner and the United States to litigate forfeiture of the Subject Property in two forums,

  even though, as discussed above, a dispositive ruling in the instant case would not resolve the civil

  forfeiture.

           Second, the forfeiture of various assets restrained in the criminal case remains outstanding.

  See Protective Order for Assets Subject to Forfeiture, ECF No. 32; Amended Protective Order for

  Assets Subject to Forfeiture, ECF No. 60; Second Protective Order, ECF No. 126. Several of the

  assets listed in the criminal protective orders belonged to fugitive defendants and as a result, are

  not forfeitable in the criminal case. See United States v. Vampire Nation, 451 F.3d 189, 202 (3d

  Cir. 2006) (holding that a criminal forfeiture order is a judgment in personam against the defendant;

  this distinguishes a forfeiture judgment in a criminal case from the in rem judgment in a civil

  forfeiture case). Thus, litigation of the civil forfeiture will result in dispositive forfeiture rulings

  for all outstanding assets currently restrained in the criminal forfeiture proceedings. See also United




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  States v. Ulbricht, 31 F. Supp. 3d 540, 560 (S.D.N.Y. 2014), aff’d on other grounds 858 F.3d 71

  (2d Cir. 2017) (Government is authorized to pursue parallel civil and criminal forfeiture

  proceedings).

          WHEREFORE, the United States respectfully requests that the Court amend the

  Preliminary Order of Forfeiture and release the Subject Property from the further criminal forfeiture

  proceedings. A proposed order is submitted for the Court’s review.

                               LOCAL RULE 88.9 CERTIFICATION

          Pursuant to Local Rule 88.9, I hereby certify that the undersigned counsel has conferred

  with counsel for Petitioner via e-mails and phone call on October 29 and November 1, 2019, and

  there is no opposition to the relief sought.

                                                 Respectfully submitted,

                                                 ARIANA FAJARDO ORSHAN
                                                 UNITED STATES ATTORNEY

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